      Case 2:20-cv-00966-NR Document 83 Filed 07/13/20 Page 1 of 5




               IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR PRESIDENT,     ) CIVIL ACTION
INC.; GLENN THOMPSON; MIKE KELLY;  )
JOHN JOYCE; GUY RESCHENTHALER;     )
REPUBLICAN NATIONAL COMMITTEE;     )
MELANIE STRINGHILL PATTERSON; and  )
CLAYTON DAVID SHOW,                )
                                   )
               Plaintiffs,         )
                                   )
       v.                          ) No. 2-20-cv-966
KATHY BOOCKVAR, in her capacity as )
Secretary of the Commonwealth of   )
Pennsylvania; ADAMS COUNTY BOARD   )
OF ELECTIONS; ALLEGHENY COUNTY     )
BOARD OF ELECTIONS; ARMSTRONG      )
COUNTY BOARD OF ELECTIONS;         )
BEAVER COUNTY BOARD OF             )
ELECTIONS; BEDFORD COUNTY BOARD )
OF ELECTIONS; BERKS COUNTY BOARD )
OF ELECTIONS; BLAIR COUNTY BOARD )
OF ELECTIONS; BRADFORD COUNTY      )
BOARD OF ELECTIONS; BUCKS          )
COUNTY BOARD OF ELECTIONS;         )
BUTLER COUNTY BOARD OF             )
ELECTIONS; CAMBRIA COUNTY BOARD )
OF ELECTIONS; CAMERON COUNTY       )
BOARD OF ELECTIONS; CARBON         )
COUNTY BOARD OF ELECTIONS;         )
CENTRE COUNTY BOARD OF             )
ELECTIONS; CHESTER COUNTY BOARD )
OF ELECTIONS; CLARION COUNTY       )
BOARD OF ELECTIONS; CLEARFIELD     )
COUNTY BOARD OF ELECTIONS;         )
CLINTON COUNTY BOARD OF            )
ELECTIONS; COLUMBIA COUNTY         )
BOARD OF ELECTIONS; CRAWFORD       )
COUNTY BOARD OF ELECTIONS;         )
CUMBERLAND COUNTY BOARD OF         )
ELECTIONS; DAUPHIN COUNTY BOARD )
OF ELECTIONS; DELAWARE COUNTY      )
BOARD OF ELECTIONS; ELK COUNTY     )
BOARD OF ELECTIONS; ERIE COUNTY    )
BOARD OF ELECTIONS; FAYETTE        )
COUNTY BOARD OF ELECTIONS;         )
      Case 2:20-cv-00966-NR Document 83 Filed 07/13/20 Page 2 of 5




FOREST COUNTY BOARD OF               )
ELECTIONS; FRANKLIN COUNTY           )
BOARD OF ELECTIONS; FULTON           )
COUNTY BOARD OF ELECTIONS;           )
GREENE COUNTY BOARD OF               )
ELECTIONS; HUNTINGDON COUNTY         )
BOARD OF ELECTIONS; INDIANA          )
COUNTY BOARD OF ELECTIONS;           )
JEFFERSON COUNTY BOARD OF            )
ELECTIONS; JUNIATA COUNTY BOARD      )
OF ELECTIONS; LACKAWANNA             )
COUNTY BOARD OF ELECTIONS;           )
LANCASTER COUNTY BOARD OF            )
ELECTIONS; LAWRENCE COUNTY           )
BOARD OF ELECTIONS; LEBANON          )
COUNTY BOARD OF ELECTIONS;           )
LEHIGH COUNTY BOARD OF               )
ELECTIONS; LUZERNE COUNTY BOARD      )
OF ELECTIONS; LYCOMING COUNTY        )
BOARD OF ELECTIONS; MCKEAN           )
COUNTY BOARD OF ELECTIONS;           )
MERCER COUNTY BOARD OF               )
ELECTIONS; MIFFLIN COUNTY BOARD      )
OF ELECTIONS; MONROE COUNTY          )
BOARD OF ELECTIONS; MONTGOMERY       )
COUNTY BOARD OF ELECTIONS;           )
MONTOUR COUNTY BOARD OF              )
ELECTIONS; NORTHAMPTON COUNTY        )
BOARD OF ELECTIONS;                  )
NORTHUMBERLAND COUNTY BOARD          )
OF ELECTIONS; PERRY COUNTY BOARD     )
OF ELECTIONS; PHILADELPHIA           )
COUNTY BOARD OF ELECTIONS; PIKE      )
COUNTY BOARD OF ELECTIONS;           )
POTTER COUNTY BOARD OF               )
ELECTIONS; SCHUYLKILL COUNTY         )
BOARD OF ELECTIONS; SNYDER           )
COUNTY BOARD OF ELECTIONS;           )
SOMERSET COUNTY BOARD OF             )
ELECTIONS; SULLIVAN COUNTY           )
BOARD OF ELECTIONS; SUSQUEHANNA      )
COUNTY BOARD OF ELECTIONS; TIOGA     )
COUNTY BOARD OF ELECTIONS; UNION     )
COUNTY BOARD OF ELECTIONS;           )
VENANGO COUNTY BOARD OF              )
ELECTIONS; WARREN COUNTY BOARD       )
          Case 2:20-cv-00966-NR Document 83 Filed 07/13/20 Page 3 of 5




 OF ELECTIONS; WASHINGTON COUNTY                     )
 BOARD OF ELECTIONS; WAYNE                           )
 COUNTY BOARD OF ELECTIONS;                          )
 WESTMORELAND COUNTY BOARD OF                        )
 ELECTIONS; WYOMING COUNTY                           )
 BOARD OF ELECTIONS; and YORK                        )
 COUNTY BOARD OF ELECTIONS,                          )
                                                     )
 Defendants.                                         )

MOTION TO INTERVENE BY THE PENNSYLVANIA STATE DEMOCRATIC PARTY
AND INDIVIDUAL CANDIDATES AND VOTERS UNDER FEDERAL RULE OF CIVIL
                          PROCEDURE 24

       Pursuant to Fed. R. Civ. P. 24(a) and (b) of the Federal Rules of Civil Procedure, non-

parties the Pennsylvania State Democratic Party, Congressman Dwight Evans, State Senators

Sharif Street and Vincent Hughes, State Representatives Danillo Burgos, Morgan Cephas, Austin

Davis, Isabella Fitzgerald, Edward Gainey, Jordan Harris, Mary Isaacson, Malcolm Kenyatta,

Patty Kim, Stephen Kinsey, Peter Schweyer, and candidates for office Nina Ahmad, Anton

Andrew, Janet Diaz, Manuel M. Guzman, Jr., Rick Krajewski, (“Candidates”), and State Senators

Art Haywood and Anthony Williams (“Non-Candidate Legislators”) (collectively “Intervenors”)

move for leave to intervene in this action to defend against claims of violations of the United States

Constitution, Pennsylvania Constitution, and Pennsylvania Election Law asserted by Plaintiffs

Donald J. Trump for President, Inc., Glenn Thompson, Mike Kelly, John Joyce, Guy

Reschenthaler, the Republican National Committee, Melanie Stringhill Patterson, and Clayton

David Show (collectively “Plaintiffs”) in the above-captioned matter. In support of this Motion,

Intervenors incorporate by reference its Brief in Support of its Motion to Intervene.

       Further, pursuant to Fed. R. Civ. P. 24(c), Intervenors request this Court deem its Motion

to Dismiss Pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6) filed.
  Case 2:20-cv-00966-NR Document 83 Filed 07/13/20 Page 4 of 5




                             Respectfully submitted,

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                             Attorneys for Intervenors


Dated: July 13, 2020
          Case 2:20-cv-00966-NR Document 83 Filed 07/13/20 Page 5 of 5




                               CERTIFICATE OF SERVICE

       I, A. Michael Pratt, hereby certify that on July 13, 2020, I caused a true and correct copy

of the foregoing Motion to Intervene, Brief in Support, Proposed Order, and Motion to Dismiss

Pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6), Brief in Support, and Proposed Order to the

Motion to Dismiss to be served on counsel of record for Plaintiffs and Defendants listed on the

docket via the Court’s ECF system.



                                                            /s/ A. Michael Pratt_______
                                                            A. Michael Pratt
